                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 1 of 41




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                                                                                                              UNITED STATES DISTRICT COURT
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                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                                                           11

                                                                           12   STEVEN PRESCOTT, individually and on             Case No.:
                                                                                behalf of all others similarly situated,
                                                                           13                                                    CLASS ACTION COMPLAINT
                                                                                                      Plaintiff,
                                                                           14                                                       1. VIOLATION OF UNFAIR
                                                                                      vs.                                              COMPETITION LAW (CAL. BUS.
                                                                           15                                                          & PROF. CODE §§ 17200, et seq.)
                                                                                MARS, INC.,                                         2. VIOLATION OF FALSE
                                                                           16                                                          ADVERTISING LAW (CAL. BUS.
                                                                                                      Defendant.                       & PROF. CODE §§ 17500, et seq.)
                                                                           17                                                       3. VIOLATION OF CONSUMERS
                                                                                                                                       LEGAL REMEDIES ACT (CAL.
                                                                           18                                                          CIV. CODE §§ 1750, et seq.)
                                                                                                                                    4. BREACH OF IMPLIED
                                                                           19                                                          WARRANTY
                                                                                                                                    5. UNJUST ENRICHMENT
                                                                           20                                                       6. NEGLIGENT FAILURE TO WARN

                                                                           21                                                    JURY TRIAL DEMANDED

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                                                                                                                   CLASS ACTION COMPLAINT
                                                                                       Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 2 of 41




                                                                           1                                                            TABLE OF CONTENTS

                                                                           2                                                                                                                                                Page No.

                                                                           3    INTRODUCTION .................................................................................................................................. 3

                                                                           4    JURISDICTION ..................................................................................................................................... 6

                                                                           5    VENUE ................................................................................................................................................... 6

                                                                           6    PARTIES................................................................................................................................................. 6

                                                                           7    FACTUAL ALLEGATIONS ................................................................................................................ 8

                                                                           8             A.          Background ...................................................................................................................... 8
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                                                                           9             B.          Plaintiff and Reasonable Consumers Were Misled by the Material Omission ......... 17

                                                                           10            C.          No Adequate Remedy at Law ....................................................................................... 19

                                                                           11   CLASS ACTION ALLEGATIONS .................................................................................................... 23

                                                                           12   CAUSES OF ACTION ........................................................................................................................ 26

                                                                           13   COUNT ONE ....................................................................................................................................... 26

                                                                           14             “Unfair” Prong ........................................................................................................................... 29

                                                                           15             “Fraudulent” Prong .................................................................................................................... 30

                                                                           16            “Unlawful” Prong ...................................................................................................................... 31

                                                                           17   COUNT TWO....................................................................................................................................... 33

                                                                           18   COUNT THREE ................................................................................................................................... 34

                                                                           19   COUNT FOUR ..................................................................................................................................... 36

                                                                           20   COUNT FIVE ....................................................................................................................................... 37

                                                                           21   COUNT SIX ......................................................................................................................................... 38

                                                                           22   PRAYER FOR RELIEF ....................................................................................................................... 40

                                                                           23   DEMAND FOR JURY TRIAL ........................................................................................................... 41

                                                                           24

                                                                           25

                                                                           26

                                                                           27

                                                                           28
                                                                                                                                                            2
                                                                                                                                     CLASS ACTION COMPLAINT
                                                                                      Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 3 of 41




                                                                           1            Plaintiff Steven Prescott (“Plaintiff”), individually and on behalf of all others similarly

                                                                           2    situated, by and through his attorneys, brings this class action complaint against Defendant Mars,

                                                                           3    Inc. (“Defendant” or “Mars”). Plaintiff’s allegations are based upon personal knowledge as to

                                                                           4    himself and his own acts, and upon information and belief as to all other matters based on

                                                                           5    investigation conducted by and through Plaintiff’s attorneys. Plaintiff believes that substantial

                                                                           6    additional evidentiary support exists for the allegations set forth herein, after a reasonable

                                                                           7    opportunity for discovery.

                                                                           8                                            INTRODUCTION
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                                                                           9            1.    Synopsis. Compared to other types of chocolate, dark chocolate is considered a

                                                                           10   healthier chocolate that is rich in antioxidants and other beneficial compounds. Consumers who

                                                                           11   purchase and consume dark chocolate therefore believe they are benefiting their health. However, a

                                                                           12   recent study determined that certain dark chocolate products, including Defendant’s Dove Promises

                                                                           13   Deeper Dark Chocolate 70% Cacao, contain alarming levels of dangerous heavy metals that pose

                                                                           14   serious health risks to consumers. The study found that just one ounce of Defendant’s dark chocolate

                                                                           15   product contains a staggering 112% of California’s daily maximum allowable dose level (MADL)

                                                                           16   for cadmium and 74% of the MADL for lead.1 Lead and cadmium are toxic heavy metals that are
                                                                           17   unsafe for consumption because they can cause various health issues in adults and children. Yet, to

                                                                           18   increase its profits and gain an unfair advantage over its competitors, Defendant sells the Product

                                                                           19   without disclosing the heavy metal content contained therein, deliberately leading reasonable

                                                                           20   consumers, including Plaintiff, to believe the Product is safe for consumption when it is not. A fair

                                                                           21   and accurate depiction of the label and packaging for Defendant’s Dove Promises Deeper Dark

                                                                           22   Chocolate 70% Cacao is depicted below (“Exhibit 1”).

                                                                           23   ///

                                                                           24   ///

                                                                           25   ///

                                                                           26   ///

                                                                           27
                                                                                1“Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022), Consumer Reports,
                                                                           28   https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-chocolate-
                                                                                a8480295550/.
                                                                                                                                  3
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 4 of 41




                                                                           1                      Exhibit 1. Dove Promises Deeper Dark Chocolate 70% Cacao

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                                                                           17       2.       The Product(s). The Products at issue include the Dove Promises Deeper Dark
                                                                           18   Chocolate 70% Cacao and all other substantially similar dark chocolate products manufactured or
                                                                           19   sold by Defendant to consumers in California and the United States that materially omit the contents
                                                                           20   of lead and cadmium therein.
                                                                           21       3.       The Deception. Defendant has misled reasonable consumers, including Plaintiff, into
                                                                           22   believing the Products are safe for consumption when they are not. A December 2022 Consumer
                                                                           23   Reports study measured the amount of heavy metals in dark chocolates, including the Product,
                                                                           24   against California’s daily MADL for lead (0.5 micrograms) and cadmium (4.1 micrograms).2 The
                                                                           25   study found that Defendant’s Product “contain[s] cadmium and lead—two heavy metals linked to
                                                                           26   a host of health problems in children and adults,” in amounts such that “eating just an ounce a day
                                                                           27
                                                                                2“Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022), Consumer Reports,
                                                                           28   https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-chocolate-
                                                                                a8480295550/.
                                                                                                                                 4
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 5 of 41




                                                                           1    would put an adult over a level that public health authorities and Consumer Reports’ experts say

                                                                           2    may be harmful . . . .” Id. The study also found that just an ounce of the Product contained a

                                                                           3    staggering amount of cadmium, measuring at 112% of California’s MADL for cadmium, and a

                                                                           4    significant amount of lead, measuring at 74% of the MADL for lead. Id. The Product contains 7.23

                                                                           5    ounces of chocolate per bag. (See Ex. 1, supra.) Exposure to lead and cadmium can have detrimental

                                                                           6    effects on humans. Lead and cadmium can accumulate in the body over time and cause a range of

                                                                           7    health issues, including developmental toxicity, male reproductive toxicity, and female

                                                                           8    reproductive toxicity. 3 Frequent, long-term exposure to even small amounts of heavy metals can
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                                                                           9    also lead to “nervous system problems, hypertension, immune system suppression, kidney damage,

                                                                           10   and reproductive issues.” 4 Defendant’s failure to disclose its Products’ alarming lead and cadmium

                                                                           11   content places consumers in jeopardy of developing illnesses.

                                                                           12       4.       Duty to Disclose and Materiality of Material Omission. Defendant had a duty to

                                                                           13   warn consumers about the risks associated with consuming its Products, because Defendant knew

                                                                           14   or should have known that its Products contain heavy metals toxic to humans. Defendant’s failure

                                                                           15   to disclose the heavy metal content in its Products is a material omission because the information

                                                                           16   is relevant to consumers’ decision-making process. Lead and cadmium are known to have adverse

                                                                           17   effects on humans, and this information could influence consumers’ decisions to purchase the

                                                                           18   Products. Plaintiff and other consumers like him would not have purchased the Products had they

                                                                           19   known the Products contained harmful lead and cadmium.

                                                                           20       5.       Primary Dual Objectives. Plaintiff brings this action individually and in a

                                                                           21   representative capacity on behalf of those similarly situated consumers who purchased the Products

                                                                           22   during the relevant Class Period (Class and/or Subclass defined infra), for dual primary objectives:

                                                                           23   One, Plaintiff seeks, on his behalf and on behalf of the Class/Subclass, injunctive relief to stop

                                                                           24   Defendant’s unlawful manufacture, marketing, and sale of the Products with the material omission

                                                                           25
                                                                                3
                                                                                  California Office of Environmental Health Hazard Assessments, Lead and Lead Compounds,
                                                                           26   OEHHA, https://oehha.ca.gov/proposition-65/chemicals/lead-and-lead-compounds; California
                                                                                Office of Environmental Health Hazard Assessments, Cadmium, OEHHA,
                                                                           27   https://oehha.ca.gov/proposition-65/chemicals/cadmium.
                                                                                4 “Lead and Cadmium Could Be in Your Dark Chocolate” (December 15, 2022), Consumer

                                                                           28   Reports, https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-
                                                                                chocolate-a8480295550/.
                                                                                                                                 5
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 6 of 41




                                                                           1    about lead and cadmium to avoid or mitigate the risk of deceiving the public into believing the

                                                                           2    Products are safe for consumption, by requiring that Defendant change its business practices, which

                                                                           3    may include one or more of the following: inclusion of a disclaimer on the Products’ labels and/or

                                                                           4    packaging, modification of the Products’ formulation be it a change in ingredients or their sourcing

                                                                           5    and manufacturing processes, and/or discontinuance of the Products’ manufacture, marketing,

                                                                           6    and/or sale. Two, Plaintiff seeks, on Plaintiff’s behalf and on behalf of the Class/Subclass, a

                                                                           7    monetary recovery of the full price that Plaintiff and consumers paid for the Products, which should

                                                                           8    have disclosed the heavy metal content in them, as consistent with permissible law (including, for
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                                                                           9    example, damages, restitution, disgorgement, and any applicable penalties/punitive damages solely

                                                                           10   as to those causes of action so permitted).

                                                                           11                                              JURISDICTION

                                                                           12       6.        This Court has subject matter jurisdiction over this action pursuant to the Class Action

                                                                           13   Fairness Act of 2005, 28 U.S.C. § 1332(d), because (i) there are 100 or more class members, (ii)

                                                                           14   there is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest and costs,

                                                                           15   and (iii) there is minimal diversity because at least one plaintiff and defendant are citizens of

                                                                           16   different states. This Court also has supplemental jurisdiction over the state law claims pursuant to

                                                                           17   28 U.S.C. § 1367.

                                                                           18                                                   VENUE

                                                                           19       7.        Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because a

                                                                           20   substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this

                                                                           21   District. Plaintiff is a citizen of California, resides in this District, and purchased the Products within

                                                                           22   this District. Moreover, Defendant receives substantial compensation from sales in this District, and

                                                                           23   Defendant’s material omissions had a substantial effect in this District.

                                                                           24                                                  PARTIES

                                                                           25       8.        Plaintiff Prescott. The following is alleged based upon personal knowledge:

                                                                           26                 a. Residence. Plaintiff is a resident of California.

                                                                           27                 b. Purchase Details. Plaintiff purchased Defendant’s Dove Promises Deeper Dark

                                                                           28                     Chocolate 70% Cacao for approximately $7 at a CVS store in Santa Cruz,
                                                                                                                                    6
                                                                                                                    CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 7 of 41




                                                                           1                     California, in or around Spring or Summer 2022.

                                                                           2                 c. Reliance on Material Omission. In making his purchase, Plaintiff relied upon the

                                                                           3                     Product’s labeling, packaging, and advertising. Plaintiff believed the Product

                                                                           4                     could be safely consumed because the Product did not contain any warning or

                                                                           5                     disclosure about the lead and cadmium content therein.

                                                                           6                 d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff did not know

                                                                           7                     the Product contained lead or cadmium and that it was unsafe for consumption.

                                                                           8                 e. No Warning. Plaintiff did not see any disclaimer, qualifier, or other explanatory
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                                                                           9                     statement or information on the Product’s labels or packaging that suggested that

                                                                           10                    the Product contained lead and cadmium or that it was not safe for consumption.

                                                                           11                    Defendant had exclusive knowledge of this information but nevertheless failed to

                                                                           12                    inform consumers.

                                                                           13                f. Causation/Damages. Plaintiff would not have purchased the Product if the heavy

                                                                           14                    metal content contained in it had been disclosed, and had Plaintiff known that the

                                                                           15                    Product was not safe for consumption.

                                                                           16                g. Desire to Repurchase. Plaintiff continues to see the Product available for sale

                                                                           17                    and desires to purchase it again if he could be sure about the contents of the

                                                                           18                    Product.

                                                                           19                h. Lack of Personal Knowledge/Expertise to Determine Truth. Plaintiff is not

                                                                           20                    personally familiar with the science behind the Products as he does not possess

                                                                           21                    any specialized knowledge, skill, experience, or education in chocolate products,

                                                                           22                    similar to and including the Products, and he has no way of determining whether

                                                                           23                    the Products contain heavy metals.

                                                                           24                i. Inability to Rely. Plaintiff is, and continues to be, unable to rely on the Products’

                                                                           25                    true contents.

                                                                           26       9.       Plaintiff’s Future Harm. Defendant continues to market and sell the Products

                                                                           27   without disclosing the heavy metals contained in them. Plaintiff wants to purchase the Products in

                                                                           28   the future if he can be sure about the content in the Products. However, Plaintiff is an average
                                                                                                                                 7
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 8 of 41




                                                                           1    consumer who is not sophisticated in, for example, dark chocolate products, similar to and including

                                                                           2    the Product, and he cannot determine if harmful heavy metals, such as lead and cadmium, are

                                                                           3    present in Defendant’s Products. Since Plaintiff would like to purchase the Products again—despite

                                                                           4    the fact that the Products currently fail to disclose the heavy metals contained in them—Plaintiff

                                                                           5    would likely and reasonably, but incorrectly, assume the Products are safe for consumption if no

                                                                           6    appropriate warning is placed on the Products’ labels. Accordingly, Plaintiff is at risk of reasonably,

                                                                           7    but incorrectly, assuming that Defendant has fixed the Products such that Plaintiff may buy them

                                                                           8    again, believing they no longer contain harmful heavy metals. In this regard, Plaintiff is currently
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                                                                           9    and, in the future, deprived of the ability to rely on the Products’ labeling and packaging.

                                                                           10       10.       Defendant Mars. Defendant is a Virginia corporation with its principal place of

                                                                           11   business in McLean, Virginia. Defendant was doing business in the state of California at all relevant

                                                                           12   times, including the Class Period. Directly and through its agents, Defendant has substantial

                                                                           13   contacts with and receives substantial benefits and income from and through the state of California,

                                                                           14   as well as the United States of America. Defendant is an owner, manufacturer, and/or distributor of

                                                                           15   the Products, and created and/or authorized the labeling to market the Products. Defendant and its

                                                                           16   agents promoted, marketed, and sold the Products at issue throughout the United States and, in

                                                                           17   particular, within this state and judicial district. The unfair, unlawful, deceptive, and misleading

                                                                           18   labeling on the Products was prepared, authorized, ratified, and/or approved by Defendant and its

                                                                           19   agents to deceive and mislead consumers in the state of California and the United States into

                                                                           20   purchasing the Products. Additionally, Defendant knew about the heavy metal content in the

                                                                           21   Products but failed to disclose that information to consumers. The information was material, and

                                                                           22   Defendant had a duty to disclose the information, because the information could influence a

                                                                           23   consumer’s purchasing decision, and it therefore created an unreasonable safety risk to consumers.

                                                                           24                                      FACTUAL ALLEGATIONS

                                                                           25         A.      Background

                                                                           26       11.       History of Chocolate. Chocolate is derived from Theobroma cacao, also known as

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                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 9 of 41




                                                                           1    the cacao tree or cocoa tree.5 The cacao/cocoa tree is native to Central and South America and

                                                                           2    grows upwards to 30 feet. 6 It produces a pod-like fruit which contains about 40 to 50 beans once

                                                                           3    matured.7 All forms of chocolates are derived from cacao beans. To create chocolate, the cacao

                                                                           4    beans are separated from the pod and the pulp within the pod.8 The beans are then fermented, dried,

                                                                           5    and roasted.9 The roasted beans are next crushed, allowing for the removal of their outer hulls. 10

                                                                           6    The nibs that remain are ground to form a paste-like chocolate liquor. 11 This chocolate liquor is the

                                                                           7    starting point of all chocolate products.12 It is mixed with other ingredients, including sugar, milk,

                                                                           8    additional cacao fat or butter (cacao bean contain cacao fat/butter), and various spices, which, when
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                                                                           9    blended with emulsifiers, create the final chocolate product consumers purchase.13

                                                                           10       12.      Chocolate’s popularity made chocolate a commodity. The industrial revolution

                                                                           11   allowed companies like Cadbury, Nestle and Hershey to mass-produce chocolate products.14 Mass-

                                                                           12   production resulted in lower prices, meaning greater percentages of the population began enjoying

                                                                           13   chocolate products.15 Today chocolate is a $130 billion global industry, and Americans spend

                                                                           14   roughly $22 billion a year on chocolate products.16

                                                                           15   5 “Theobroma cacao L. (Malvaceae),” UNIVERSITY OF OXFORD,

                                                                           16   https://herbaria.plants.ox.ac.uk/bol/plants400/Profiles/ST/Theo#:~:text=Theobroma%20cacao%20
                                                                                is%20the%20Latin,his%20Species%20Plantarum%20(1753).
                                                                                6 “Theobroma cacao,” MISSOURI BOTANICAL GARDEN,
                                                                           17
                                                                                https://www.missouribotanicalgarden.org/PlantFinder/PlantFinderDetails.aspx?taxonid=287263.
                                                                                7
                                                                           18     Frank Robles, “About The Cacao Tree,” CHOCOLATE,
                                                                                https://www.chocolate.org/blogs/chocolate-blog/about-the-cacao-tree.
                                                                                8
                                                                           19     “Harvesting & Post-harvest processing,” ICCO Secretariat
                                                                                INTERNATIONAL COCOA ORGANIZATION , https://www.icco.org/harvesting-post-harvest-new/.
                                                                           20
                                                                                9
                                                                                  Veronika Barišić, et al., “The Chemistry behind Chocolate Production,” NATIONAL LIBRARY OF
                                                                                MEDICINE, (Aug. 30, 2019), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6749277/.
                                                                                10
                                                                           21      “How is Chocolate Made?” SCIENCE OF COOKING,
                                                                                https://www.scienceofcooking.com/chocolate/how-is-chocolate-
                                                                           22   made.htm#:~:text=GRINDING%20OF%20NIB,flows%20out%20in%20liquid%20form.
                                                                                11
                                                                                   Id.
                                                                                12
                                                                           23      Id.
                                                                                13
                                                                                   Id.
                                                                                14
                                                                           24      “More Chocolate, More Quickly!: Changes in Chocolate Consumption brought about by the
                                                                                Industrial Revolution,” WORD PRESS, (Mar. 24, 2020),
                                                                           25   https://chocolateclass.wordpress.com/2020/03/24/more-chocolate-more-quickly-changes-in-
                                                                                chocolate-consumption-brought-about-by-the-industrial-revolution/.
                                                                                15
                                                                           26      Id.
                                                                                16
                                                                                   Govind Bhutada, “Cocoa’s bittersweet supply chain in one visualization,” WORLD ECONOMIC
                                                                           27   FORUM, (Nov. 4, 2020), https://www.weforum.org/agenda/2020/11/cocoa-chocolate-supply-chain-
                                                                                business-bar-africa-exports/; Linda Searing, “The Big Number: $22 billion a year on chocolate. Is
                                                                           28   that healthy?” THE WASHINGTON POST, (Feb. 10, 2018),

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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                   Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 10 of 41




                                                                           1        13.      On average, each American consumes nearly twelve pounds of chocolate per year.17

                                                                           2    This appetite for chocolate is warranted. Not only is chocolate tasty, but studies show that it has

                                                                           3    positive physical effects on humans, which is why the product has been sought after for thousands

                                                                           4    of years.18 Chemicals in chocolate have been shown to trigger euphoria, the same endorphins that

                                                                           5    trigger the “in love” feeling in humans, which is why chocolate is unsurprisingly the go-to

                                                                           6    Valentine’s Day gift.19 In surveys measuring flavors, chocolate consistently remains the favorite. 20

                                                                           7    Chocolate’s ability to increase alertness and energy is well-documented, which is why chocolate

                                                                           8    has been standard issue to U.S. servicemen since George Washington.21 The effects of chocolate
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                                                                           9    are so well-known, it has been an integral part of the cultural psyche since the Aztecs. 22 Even

                                                                           10   modern examples like the 1971 film Willy Wonka & the Chocolate Factory and the 2000 film

                                                                           11   Chocolate reference chocolate’s cultural impact. Diners would be hard-pressed to see a dessert

                                                                           12   menu that did not contain at least one chocolate dessert.

                                                                           13       14.      Health Benefits of Dark Chocolate. Dark chocolate has been widely considered to

                                                                           14   be the healthier option among other chocolate types. This is because dark chocolate contains high

                                                                           15   concentrations of cocoa flavonoids, which are potent antioxidants. Among its many benefits, dark

                                                                           16   chocolate is known to positively affect heart health. Studies have shown that dark chocolate has the

                                                                           17   potential to reduce the risk of heart disease because it can help improve blood flow and lower blood

                                                                           18

                                                                           19

                                                                           20   https://www.washingtonpost.com/national/health-science/the-big-number22-billion-a-year-on-
                                                                                chocolate-is-that-healthy/2018/02/09/6a6cee4c-0d1a-11e8-8890-372e2047c935_story.html.
                                                                           21   17
                                                                                   Linda Searing, “The Big Number: $22 billion a year on chocolate. Is that healthy?” THE
                                                                                WASHINGTON POST , (Feb. 10, 2018), https://www.washingtonpost.com/national/health-
                                                                           22   science/the-big-number22-billion-a-year-on-chocolate-is-that-healthy/2018/02/09/6a6cee4c-0d1a-
                                                                                11e8-8890-372e2047c935_story.html.
                                                                                18 Donatella Lippi, “Chocolate in History: Food, Medicine, Medi-Food,” NATIONAL LIBRARY OF
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                                                                                MEDICINE, (May 5, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3708337/.
                                                                                19
                                                                           24      Id.; Chris Kilham, “Chocolate: The Love Drug. . .And Why It’s Good for You.” FOX NEWS,
                                                                                (Oct. 23, 2015), https://www.foxnews.com/health/chocolate-the-love-drug-and-why-its-good-for-
                                                                           25   you.
                                                                                20
                                                                                   ”Chocolate is America's favorite ice cream flavor, survey says,” CBS MINNESOTA, (July 15,
                                                                           26   2022) https://www.cbsnews.com/minnesota/news/america-favorite-ice-cream-flavor-chocolate/.
                                                                                21 Sean Jacobson, ‘“Chocolate is a Fighting Food! – Chocolate bars in the Second World War,”

                                                                           27   NATIONAL MUSEUM OF AMERICAN HISTORY, (Oct. 24, 2016),
                                                                                https://americanhistory.si.edu/blog/chocolate-bars-second-world-war.
                                                                                22 “The Development of Chocolate,” WORLD PRESS, (Mar. 15, 2019),
                                                                           28
                                                                                https://chocolateclass.wordpress.com/2019/03/15/the-development-of-chocolate/.
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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 11 of 41




                                                                           1    pressure.23 Dark chocolate can also have positive effects on cognitive function. One study found

                                                                           2    that consuming cocoa flavonoids can help improve memory and attention, especially among elderly

                                                                           3    participants with mild cognitive impairments. 24 Other studies have suggested that dark chocolate

                                                                           4    can have anti-inflammatory properties which can help reduce the risk of chronic diseases such as

                                                                           5    diabetes and cancer.25 While other studies have found that the flavonoids in dark chocolate can

                                                                           6    improve mood and lower symptoms of anxiety and depression.26

                                                                           7         15.     Consumer Demand for Dark Chocolate. For consumers, dark chocolate has become

                                                                           8    increasingly popular and sought after because of its perceived health benefits. 27 The cacao bean is
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                                                                           9    one of the best-known sources of dietary polyphenols, constituting approximately 10% of a whole

                                                                           10   bean’s dry weight.28 The antioxidant properties of polyphenols are known to have positive effects

                                                                           11   on the cardiovascular system, the central nervous system, the intestinal system, and the immune

                                                                           12   system.29 Dark chocolate in particular contains a higher percentage of cocoa and thus has higher

                                                                           13   phenolic antioxidant compounds when compared to other chocolate varieties. Id.

                                                                           14        16.     Heavy Metals in Chocolate. Despite chocolate’s popularity and health benefits,

                                                                           15   researchers, manufacturers, and chocolate companies have known about the high levels of lead and

                                                                           16   cadmium in cocoa/chocolate products.30 During the late 1970s, after seeing high concentrations of

                                                                           17   lead in foods and human populations, researchers began to focus on the source of lead in cocoa, the

                                                                           18
                                                                                23 “The Neuroprotective Effects of Cocoa Flavanol and its Influence on Cognitive Performance,”
                                                                           19   National Library of Medicine (Feb. 5, 2013),
                                                                                https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3575938/.
                                                                                24 Id.
                                                                           20
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                                                                                   “The Effects of Cocoa on the Immune System,” National Library of Medicine (June 4, 2013),
                                                                           21   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3671179/.
                                                                                26 “The Neuroprotective Effects of Cocoa Flavanol and its Influence on Cognitive Performance,”

                                                                           22   National Library of Medicine (Feb. 5, 2013),
                                                                                https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3575938/.
                                                                                27 “United States Chocolate Market – Growth, Trends, Covid-19 Impact, and Forecasts (2023-
                                                                           23
                                                                                2028” Mordor Intelligence, https://www.mordorintelligence.com/industry-reports/united-states-
                                                                           24   chocolate-market; “Phenolic and Theobromine Contents of Commercial Dark, Milk and White
                                                                                Chocolates on the Malaysian Market” (Jan. 14, 2009), National Library of Medicine,
                                                                           25   https://ncbi.nlm.nih.gov/pmc/articles/PMC6254055/.
                                                                                28
                                                                                   “Chocolate, ‘Food of the Gods’: History, Science, and Human Health” (Dec. 6, 2019), National
                                                                           26   Library of Medicine, https://ncbi.nlm.nih.gov/pmc/articles/PMC6950163/.
                                                                                29 “Cocoa and Dark Chocolate Polyphenols: From Biology to Clinical Applications” (June 9,

                                                                           27   2017), National Library of Medicine, https://ncbi.nlm.nih.gov/pmc/articles/PMC5465250/.
                                                                                30 Rankin, Charley W. “Lead contamination in cocoa and cocoa products: isotopic evidence of

                                                                           28   global contamination” (Oct. 2005), Environmental Health Perspective,
                                                                                https://pubmed.ncbi.nlm.nih.gov/16203244/.
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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 12 of 41




                                                                           1    main ingredient in chocolate products. Id. Regarding milk chocolate products, the Food and Drug

                                                                           2    Administration reported in its 2000 Total Diet Survey (TDS), that the “average lead content for

                                                                           3    milk chocolate candy bars (27 ng/g) was the fourth highest reported for all food items.” Id. The 20th

                                                                           4    Australian TDS showed that “milk chocolate had the second highest value of 65 foods, with a mean

                                                                           5    value of 21 ng/g and a maximum value of 40 ng/g,” whereas the 1997/1998 New Zealand TDS

                                                                           6    found that “lead concentration in chocolate biscuits (15 ng/g) was 3-fold greater than those of

                                                                           7    cracker (5.2 ng/g) and plain sweet biscuits (5.2 ng/g).” Id. A 2005 study shows that cocoa-based

                                                                           8    chocolates sold in India, Dahiya had an “average lead concentration of 1.92 µg/g (range, 0.05-8.3
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                                                                           9    µg/g),” and another 1999 study found the “average lead content of cocoa powders sold in Nigeria

                                                                           10   to be 310 ng/g with a range of 80-850 ng/g.” Id.

                                                                           11        17.      Lead and cadmium concentrations in dark chocolate are higher than those in milk

                                                                           12   chocolate, due to the higher amounts of cocoa solids. In a 2013 study, researchers found that “there

                                                                           13   was a linear correlation between the level of trace elements in chocolate and the cocoa solids

                                                                           14   content.” 31 Specifically, “lead was found to be correlative to the cocoa solids content in all brands”

                                                                           15   evaluated. Id. For example, the “distribution of trace metals in cocoa powder” was 103 ng/g for

                                                                           16   lead and 125 ng/g for cadmium. In another 2014 study, the concentrations of cadmium and lead

                                                                           17   ranged from “<1.7-107.6 and <21-138.4 ng/g, respectively, and the highest concentrations of

                                                                           18   cadmium and lead were found in dark chocolates.” 32 This study also found that a “linear correlation

                                                                           19   exists between the cocoa content and the concentration of cadmium (R2=0.907) and lead

                                                                           20   (R2=0.955),” where the R2 value “indicates the percentage of the variance” between two variables,

                                                                           21   meaning a value closer to 1, demonstrates a higher level of correlation. Id. This means that dark

                                                                           22   chocolate with 47-85% cocoa solids concentrations had higher lead and cadmium concentrations.

                                                                           23   Cocoa solids are the biggest sources of lead and cadmium in cocoa products, so dark chocolate

                                                                           24   products that have a high concentration of cocoa solids have higher concentrations of lead and other

                                                                           25
                                                                                31 Yanus, Rinat Levi, et al. “Trace elements in cocoa solids and chocolate: An ICPMS study,”
                                                                           26
                                                                                (May 16, 2013), Talanta,
                                                                           27   https://www.sciencedirect.com/science/article/abs/pii/S0039914013008473.
                                                                                32 Villa, Javier E. L., et al. “Cadmium and Lead in Chocolates Commercialized in Brazil,” (Aug.

                                                                           28   15, 2014), Journal of Agricultural and Food Chemistry,
                                                                                https://pubs.acs.org/doi/abs/10.1021/jf5026604.
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                                                                                                                   CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 13 of 41




                                                                           1    heavy metals.

                                                                           2         18.      Based on the prevailing research on lead and cadmium, Defendant knew or should

                                                                           3    have known that its chocolates have excessive levels of these heavy metals. Yet, Defendant failed

                                                                           4    to disclose to consumers the heavy metal content contained in its Product. This information is

                                                                           5    material to consumers because it influences their decision about whether to purchase the Product.

                                                                           6    This is especially true when the Product contains significant levels of both lead and cadmium, which

                                                                           7    are toxic heavy metals that can affect consumers’ health and safety. Defendant’s failure to disclose

                                                                           8    this information created a substantial and unreasonable health and safety risk to consumers.
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                                                                           9         19.      Sources of Lead and Cadmium. Lead does not appear in cacao beans naturally;

                                                                           10   rather, lead is introduced in various ways from the soil where the cacao beans are grown and the

                                                                           11   water used for irrigation to the equipment used to process the beans.33 These sources can include

                                                                           12   the “burning of leaded gasoline and diesel fuel, from leaded paint, the burning of plastics and/or

                                                                           13   garbage, the operation of smelters and other industrial processes, use of fertilizers, and emissions

                                                                           14   from coal-fired power plants,” which all spread lead to the soil and air.34 The lead particles in the

                                                                           15   soil and air then penetrate the cacao beans during the outdoor harvesting, drying, and fermenting

                                                                           16   processes, and they remain on the wet cacao beans throughout other manufacturing steps. Id. Lead

                                                                           17   can also be present in metal equipment like the mixers and grinders used to process the beans. Much

                                                                           18   like lead, cadmium is introduced through the soil as it is absorbed by the roots of the cacao trees

                                                                           19   and deposited in parts of the fruits. Id. Cadmium levels are influenced by the pH of the soil, metals

                                                                           20   from fertilizers, and other inputs like water. Id.

                                                                           21        20.      Effects of Lead and Cadmium. Defendant’s Products contain heavy metals, and

                                                                           22   Defendant knows this, but it nevertheless sells the Products without warning consumers that the

                                                                           23   lead and cadmium in them can seriously impact consumers’ health, especially in young children.

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                                                                                   Rankin, Charley W. “Lead contamination in cocoa and cocoa products: isotopic evidence of
                                                                           26   global contamination” (Oct. 2005), Environmental Health Perspective,
                                                                                https://pubmed.ncbi.nlm.nih.gov/16203244/.
                                                                                34 Behar, Andrew. “New Report Details Simple, Safe, and Low-Cost Solutions to Reduce Levels
                                                                           27
                                                                                of Lead and Cadmium in Chocolate” (Aug. 17, 2022), As You Sow,
                                                                           28   https://www.asyousow.org/blog/2022/8/17/new-report-explains-simple-safe-and-low-cost-
                                                                                solutions-to-reduce-levels-of-lead-and-cadmium-in-chocolate.
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                                                                                                                   CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 14 of 41




                                                                           1         21.     Young children are big consumers of chocolates, and thus “may be at risk of

                                                                           2    exceeding the daily limit of lead” since “one 10g cube of dark chocolate may contain as much as

                                                                           3    20% of the daily lead oral limit.” 35 Children are disproportionally affected by heavy metal

                                                                           4    consumption, because children have a high digestive tract absorption factor. Id. Children, ages 2-6

                                                                           5    years old, have an absorption factor of 30-75% compared to 11% absorption by adults. Id. Thus,

                                                                           6    children are more affected by lead and cadmium in chocolate products, as they absorb a higher

                                                                           7    percentage of these heavy metals. This is especially concerning as children are a target group for

                                                                           8    chocolate manufacturers.
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                                                                           9         22.     Lead has been linked to various health effects. Lead can be absorbed and stored in

                                                                           10   human bodies, organs, and tissues.36 Short-term exposure to high amounts of lead can lead to

                                                                           11   encephalopathy. Id. Encephalopathy is a term for any disease of the brain that alters brain function

                                                                           12   or structure. 37 Encephalopathy may quickly develop to “seizures, coma, and death from

                                                                           13   cardiorespiratory arrest.”38 In pregnant women, exposure to lead can affect the unborn child, and

                                                                           14   children “born to parents exposed to excess lead levels are more likely to have birth defects, mental

                                                                           15   retardation, behavioral disorders or die during the first year of childhood.” Id. Furthermore, lead

                                                                           16   exposure can cause miscarriages, stillbirths, and infertility in both men and women. Id. Long-term

                                                                           17   exposure to lead can result in severe damage to blood-forming, nervous, urinary and reproductive

                                                                           18   systems.39 Common symptoms of chronic overexposure include: “loss of appetite, metallic taste in

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                                                                                35
                                                                                   Yanus, Rinat Levi, et al. “Trace elements in cocoa solids and chocolate: An ICPMS study,”
                                                                           20   (May 16, 2013), Talanta,
                                                                                https://www.sciencedirect.com/science/article/abs/pii/S0039914013008473.
                                                                                36
                                                                           21      “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991), United States
                                                                                Department of Labor, https://www.osha.gov/laws-
                                                                           22   regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%20portion%20
                                                                                of%20the,the%20blood%20and%20other%20tissues.
                                                                                37 “Encephalopathy” National Institute of Neurological Disorders and Stroke,
                                                                           23
                                                                                https://www.ninds.nih.gov/health-
                                                                           24   information/disorders/encephalopathy#:~:text=Encephalopathy%20is%20a%20term%20for,Meta
                                                                                bolic%20or%20mitochondrial%20dysfunction.
                                                                                38 “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991), United States
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                                                                                Department of Labor, https://www.osha.gov/laws-
                                                                           26   regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%20portion%20
                                                                                of%20the,the%20blood%20and%20other%20tissues.
                                                                                39 “Substance Data Sheet for Occupational Exposure to Lead” (May 31, 1991), United States
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                                                                                Department of Labor, https://www.osha.gov/laws-
                                                                           28   regs/regulations/standardnumber/1910/1910.1025AppA#:~:text=A%20significant%20portion%20
                                                                                of%20the,the%20blood%20and%20other%20tissues.
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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 15 of 41




                                                                           1    the mouth, anxiety, constipation, nausea, pallor, excessive tiredness, weakness, insomnia, headache,

                                                                           2    nervous irritability, muscle and joint pain or soreness, fine tremors, numbness, dizziness,

                                                                           3    hyperactivity, and colic, which can cause severe abdominal pain. Id. Although exposure to lead is

                                                                           4    harmful to people of all ages, it typically affects children more than adults because children tend to

                                                                           5    show signs of severe lead toxicity at lower levels than adults.40 In fact, any level of lead can have

                                                                           6    toxic manifestations because breathing in, swallowing, or absorbing lead particles results in a high

                                                                           7    level of lead remaining in the body, stored in bones, blood, and tissues, for months and even years.41

                                                                           8    Therefore, no amount of lead exposure is truly safe, making the Products especially dangerous as
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                                                                           9    they contain a significant level of lead, 74% of the MADL for lead, an amount that can cause drastic

                                                                           10   and severe adverse health effects especially with repeated consumption.

                                                                           11        23.     Like lead, cadmium causes harmful health effects. Cadmium is an element classified

                                                                           12   as a transition metal that is primarily used for commercial purposes and is produced by refining

                                                                           13   zinc ores.42 Consuming food or water with high cadmium levels severely irritates the stomach,

                                                                           14   which can lead to vomiting and diarrhea. 43 In severe cases, exposure to cadmium can cause death.

                                                                           15   Id. Long-term exposure to low levels of cadmium can lead to a build-up of cadmium in the kidneys,

                                                                           16   which can eventually damage the kidneys when the build-up becomes large enough, and it can

                                                                           17   cause bones to become fragile and break easily. Id. Lab animals have been studied to confirm these

                                                                           18   effects, but current research suggests that young children are more easily susceptible to cadmium

                                                                           19   exposure, and so negative health effects are more severe for children. Id. Similarly to lead, exposure

                                                                           20   to cadmium even at the lowest levels can have harmful effects over time as cadmium builds up in

                                                                           21   the kidneys, stomach, and bones with each exposure.44 Defendant’s Dove Promises Deeper Dark

                                                                           22
                                                                                40 “Toxicology Profile for Lead” (Aug. 2020), U.S. Department for Health and Human Services:
                                                                           23
                                                                                Agency for Toxic Substances and Disease Registry,
                                                                           24   https://www.atsdr.cdc.gov/ToxProfiles/tp13.pdf.
                                                                                41 “Lead Poisoning” (Jan. 21, 2022), Mayo Clinic, https://www.mayoclinic.org/diseases-

                                                                           25   conditions/lead-poisoning/symptoms-causes/syc-20354717.
                                                                                42
                                                                                   “What is Cadmium” (Dec. 10, 2013), U.S. Department for Health and Human Services: Agency
                                                                           26   for Toxic Substances and Disease Registry, https://www.atsdr.cdc.gov/csem/cadmium/What-is-
                                                                                Cadmium.html.
                                                                                43 “Toxicology Profile for Cadmium” (Sept. 2012), U.S. Department of Health and Human
                                                                           27
                                                                                Services, https://www.atsdr.cdc.gov/ToxProfiles/tp5.pdf.
                                                                                44 “Cadmium Factsheet” (April 7, 2017), Centers for Disease Control and Prevention,
                                                                           28
                                                                                https://www.cdc.gov/biomonitoring/Cadmium_FactSheet.html.
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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 16 of 41




                                                                           1    Chocolate 70% Cacao contains cadmium at 112% of the respective MADL, resulting in significant

                                                                           2    exposure to cadmium for anyone who consumes the Product and potential long-lasting and alarming

                                                                           3    health effects.

                                                                           4         24.      Defendant Was Put On Notice That Its Chocolate Contained Harmful Heavy

                                                                           5    Metals. In 2016, As You Sow, a California-based consumer advocacy group, performed a study of

                                                                           6    the heavy metal content of cocoa products.45 The group sent samples of 50 different chocolate

                                                                           7    products to a third-party lab and discovered that more than half of these samples contained lead and

                                                                           8    cadmium. The levels at which cadmium and lead were present exceeded California’s daily
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                                                                           9    MADL, 46 which is based on California’s Proposition 65 safe harbor levels of 0.5 micrograms for

                                                                           10   lead and 4.1 micrograms for cadmium.47 The study purposefully did not disclose the exact levels

                                                                           11   contained within specific products, in hopes that manufacturers would partner with As You Sow to

                                                                           12   address the high levels of lead and cadmium in their respective product lines. Ultimately, Defendant

                                                                           13   and other manufacturers agreed to regularly test their chocolate products and to include warning

                                                                           14   labels on those that exceeded lead and cadmium threshold levels agreed upon by As You Sow and

                                                                           15   the manufacturers.48 As You Sow’s efforts effectively put Defendant on notice that it had a duty to

                                                                           16   test its Products for the presence of heavy metals and subsequently remove them, or adequately

                                                                           17   disclose to consumers that these heavy metals were present in their Products and posed serious

                                                                           18   health risks to consumers. Yet, as Consumer Reports’ recent study reveals, the Products contain

                                                                           19   harmful levels of heavy metals and fail to include any warning to consumers about their existence. 49

                                                                           20        25.      By failing to inform consumers that its Products contain lead and cadmium, Defendant

                                                                           21   deceptively labels and advertises its Products as if they are safe for consumption when they are not.

                                                                           22   Through its omission, Defendant exposes the consuming public to increased health risks posed by

                                                                           23
                                                                                45
                                                                           24      Kounang, Nadia. “Is There Lead in Your Chocolate?” CNN. Cable News Network (Mar. 25,
                                                                                2016) https://www.cnn.com/2016/03/25/health/chocolate-lead-test/index.html.
                                                                                46 Id.
                                                                           25
                                                                                47
                                                                                   “Proposition 65,” California Office of Environmental Health Hazard Assessment, OEHHA,
                                                                           26   https://oehha.ca.gov/proposition-65.
                                                                                48 As You Sow v. Trader Joe’s Company, et al., No CGC-15-548791 (Consent Judgment, Feb. 15,

                                                                           27   2018).
                                                                                49 “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022), Consumer Reports,

                                                                           28   https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-chocolate-
                                                                                a8480295550/.
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                                                                                                                  CLASS ACTION COMPLAINT
                                                                                     Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 17 of 41




                                                                           1    these harmful heavy metals. Defendant knew of the Products’ heavy metal content and the

                                                                           2    associated health risks and yet it failed, and continues to fail, to disclose this material information

                                                                           3    to consumers, breaching its duty to disclose and thereby seriously impacting the health of

                                                                           4    consumers.

                                                                           5         26.      Creating Safe Dark Chocolate Products Is Possible. According to As You Sow,

                                                                           6    lead can be reduced in chocolate products by improving agricultural, manufacturing, and business

                                                                           7    practices, including: (1) preventing the introduction of lead during bean fermentation and drying,

                                                                           8    (2) preventing the introduction of lead during the transportation of whole wet beans, and (3)
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                                                                           9    establishing bean cleaning/winnowing quality assurance practices for reduce lead amounts.              50


                                                                           10   Levels of cadmium can be reduced by: (1) planting new orchards in regions with low levels of

                                                                           11   cadmium, and (2) using soil amendments to increase soil pH. Id. According to Consumer Reports’

                                                                           12   December 2022 study that measured the amount of heavy metals in dark chocolates against

                                                                           13   California’s MADL, 51 researchers found that “while most of the chocolate bars in CR’s tests had

                                                                           14   concerning levels of lead, cadmium, or both, five of them were relatively low in both” meaning that

                                                                           15   it is “possible for companies to make products with lower amounts of heavy metals-and for

                                                                           16   consumers to find safer products that they enjoy.” 52

                                                                           17         B.      Plaintiff and Reasonable Consumers Were Misled by the Material Omission

                                                                           18          27.    Material Omission on the Products’ Labels. Defendant manufactures, markets,

                                                                           19   advertises, labels, packages, and sells the Products. Defendant deceives consumers by failing to

                                                                           20   disclose that the Products contain cadmium and lead, placing consumers at risk of serious health

                                                                           21   conditions. Reasonable consumers have no way of knowing, nor do they have a reason to know or

                                                                           22   believe, that the Products pose threats to their health. Defendant’s failure to disclose this information

                                                                           23
                                                                                50
                                                                           24      Anh, Timothy, et al. “Expert Investigation Related to Cocoa and Chocolate Products: Final
                                                                                Report” (Mar. 28, 2022). As You Sow,
                                                                           25   https://static1.squarespace.com/static/59a706d4f5e2319b70240ef9/t/62fd592790137e31288a1698/
                                                                                1660770607858/AsYouSow_ChocolateFullReport_FIN_20220817.pdf.
                                                                                51 “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022), Consumer Reports,
                                                                           26
                                                                                https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-chocolate-
                                                                           27   a8480295550/.
                                                                                52 “Lead and Cadmium Could Be in Your Dark Chocolate” (Dec. 15, 2022), Consumer Reports,

                                                                           28   https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-chocolate-
                                                                                a8480295550/.
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                                                                                                                    CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 18 of 41




                                                                           1    is material because consumers would not purchase the Products if the lead and cadmium content in

                                                                           2    the Products were clearly disclosed.

                                                                           3           28.    Consumers Reasonably Believe the Products are Safe for Consumption. Plaintiff

                                                                           4    and other reasonable consumers perceive and reasonably expect food products that are sold in the

                                                                           5    marketplace to be safe for human consumption. Plaintiff and other reasonable consumers were

                                                                           6    unaware of the lead and cadmium content of the Product and reasonably believed the Product to be

                                                                           7    safe for consumption. Defendant failed to inform consumers about the lead and cadmium contained

                                                                           8    in the Product, furthering consumer deception about the safeness of the Product.
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                                                                           9           29.    The Products Are Not Safe For Consumption. As outlined supra, lead and

                                                                           10   cadmium, at any concentration, pose serious health risks when consumed. Defendant’s Products

                                                                           11   contain 112% of the MADL for cadmium and 74% of the MADL for lead, per ounce. These

                                                                           12   concentrations of heavy metals pose serious health risks to consumers, even for those that ingest

                                                                           13   only one serving of the Product. Here, the Product is 7.23 oz with 6 servings per bag.

                                                                           14          30.    Deception. Defendant’s failure to disclose material information regarding the

                                                                           15   inclusion of lead and cadmium in the Products was deceptive since it misled consumers, including

                                                                           16   Plaintiff, to believe the Products are safe for consumption when they are not.

                                                                           17          31.    Omission and Obligation to Disclose. As set forth herein, Defendant omits the

                                                                           18   presence of harmful heavy metals in its Products, leading consumers into purchasing the Products

                                                                           19   without knowing they are consuming dangerous heavy metals that they likely would not have

                                                                           20   otherwise willingly consumed. Defendant has an obligation to disclose the presence of heavy metals

                                                                           21   in its Products, because this information is material to consumers and Defendant knows or should

                                                                           22   know about the heavy metals contained in its Products.

                                                                           23          32.    Material. Information about the presence of heavy metals in Defendant’s Products is

                                                                           24   material to reasonable consumers, including Plaintiff, because it has the potential to influence their

                                                                           25   decision to purchase the Products, as set forth herein. Plaintiff would not have purchased the Product

                                                                           26   had Defendant disclosed that the Product contains heavy metals.

                                                                           27          33.    Reliance. Reasonable consumers, including Plaintiff, reasonably relied on the

                                                                           28   Products’ labeling, which failed to disclose that the Products contained heavy metals, in deciding to
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                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 19 of 41




                                                                           1    purchase the Products, as set forth herein.

                                                                           2           34.    Falsity. The Products’ representation as dark chocolate safe for consumption is false

                                                                           3    and deceptive because the Products are not safe for consumption—meaning the Products contains

                                                                           4    harmful heavy metals which cause severe health issues to consumers.

                                                                           5           35.    Consumers Lack Knowledge of Deception/Fraudulence. Consumers, including

                                                                           6    Plaintiff, who purchased the Product, did not know, and had no reason to know, at the time of

                                                                           7    purchase, that the Products contained heavy metals.

                                                                           8           36.    Defendant’s Knowledge. Defendant knew, or should have known, that its Products
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                                                                           9    contain lead and cadmium, and its failure to inform consumers about those heavy metals in its

                                                                           10   Products was misleading and unlawful. Defendant intentionally and deliberately omitted this

                                                                           11   information to cause Plaintiff and similarly situated consumers to purchase the Products. Defendant,

                                                                           12   as the manufacturer, had exclusive control over how the Products were marketed and labeled, and

                                                                           13   Defendant readily and easily could have remedied the deception by disclosing to consumers that its

                                                                           14   Products contain lead and cadmium. Defendant is and was, at all times, required to ensure its

                                                                           15   Products were safe for consumption, when selling the Products anywhere in the United States. Thus,

                                                                           16   Defendant knew, or should have known, at all relevant times, that the Products’ labels were

                                                                           17   deceptive, and reasonable consumers like Plaintiff were being misled into buying the Products

                                                                           18   because they lacked Defendant’s knowledge about the heavy metals contained in the Products.

                                                                           19          37.    Detriment. Plaintiff and similarly situated consumers would not have purchased the

                                                                           20   Products if they had known the Products contain harmful metals and, therefore, the Products were

                                                                           21   not safe for consumption as claimed, promised, warranted, advertised, and represented.

                                                                           22   Accordingly, based on Defendant’s material omissions, reasonable consumers, including Plaintiff,

                                                                           23   purchased the Products to their detriment.

                                                                           24         C.      No Adequate Remedy at Law

                                                                           25          38.    No Adequate Remedy at Law. Plaintiff and members of the Class are entitled to

                                                                           26   equitable relief as no adequate remedy at law exists.

                                                                           27                 a. Broader Statutes of Limitations. The statutes of limitations for the

                                                                           28                     causes of action pled herein vary. The limitations period is four years
                                                                                                                                 19
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 20 of 41




                                                                           1              for claims brought under the UCL, which is one year longer than the

                                                                           2              statutes of limitations under the FAL and CLRA. In addition, the

                                                                           3              statutes of limitations vary for certain states’ laws for breach of warranty

                                                                           4              and unjust enrichment/restitution, between approximately 2 and 6 years.

                                                                           5              Thus, California Subclass members who purchased the Products more

                                                                           6              than 3 years prior to the filing of the complaint will be barred from

                                                                           7              recovery if equitable relief were not permitted under the UCL.

                                                                           8              Similarly, Nationwide Class members who purchased the Products prior
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                                                                           9              to the furthest reach-back under the statute of limitations for breach of

                                                                           10             warranty, will be barred from recovery if equitable relief were not

                                                                           11             permitted for restitution/unjust enrichment.

                                                                           12          b. Broader Scope of Conduct. In addition, the scope of actionable

                                                                           13             misconduct under the unfair prong of the UCL is broader than the other

                                                                           14             causes of action asserted herein. It includes, for example, Defendant’s

                                                                           15             overall unfair material omission about the lead and cadmium contained

                                                                           16             in its Products, in order to gain an unfair advantage over competitor

                                                                           17             products and to take advantage of consumers’ desire for products that

                                                                           18             comport with the required disclosures. The UCL also creates a cause of

                                                                           19             action for violations of law (such as statutory or regulatory requirements

                                                                           20             and court orders related to similar representations and omissions made

                                                                           21             on the type of products at issue). Thus, Plaintiff and Class members may

                                                                           22             be entitled to restitution under the UCL, while not entitled to damages

                                                                           23             under other causes of action asserted herein (e.g., the FAL requires

                                                                           24             actual or constructive knowledge of the falsity; the CLRA is limited to

                                                                           25             certain types of plaintiffs (an individual who seeks or acquires, by

                                                                           26             purchase or lease, any goods or services for personal, family, or

                                                                           27             household purposes) and other statutorily enumerated conduct).

                                                                           28             Similarly, unjust enrichment/restitution is broader than breach of
                                                                                                                          20
                                                                                                           CLASS ACTION COMPLAINT
                                                                                Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 21 of 41




                                                                           1              warranty. For example, in some states, breach of warranty may require

                                                                           2              privity of contract or pre-lawsuit notice, which are not typically required

                                                                           3              to establish unjust enrichment/restitution. Thus, Plaintiff and Class

                                                                           4              members may be entitled to recover under unjust enrichment/restitution,

                                                                           5              while not entitled to damages under breach of warranty, because they

                                                                           6              purchased the products from third-party retailers or did not provide

                                                                           7              adequate notice of a breach prior to the commencement of this action.

                                                                           8           c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
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                                                                           9              Injunctive relief is appropriate on behalf of Plaintiff and members of the

                                                                           10             Class because Defendant continues to sell the Products without

                                                                           11             disclosing that the Products contain harmful heavy metals. Injunctive

                                                                           12             relief is necessary to prevent Defendant from continuing to engage in

                                                                           13             the unfair, fraudulent, and/or unlawful conduct described herein and to

                                                                           14             prevent future harm—none of which can be achieved through available

                                                                           15             legal remedies (such as monetary damages to compensate past harm).

                                                                           16             Further, injunctive relief, in the form of affirmative disclosures, is

                                                                           17             necessary to dispel the public misperception about the Products that has

                                                                           18             resulted from years of Defendant’s unfair, fraudulent, and unlawful

                                                                           19             marketing efforts. Such disclosures would include, but are not limited

                                                                           20             to, publicly disseminated statements providing accurate information

                                                                           21             about the Products’ true nature; and/or requiring prominent

                                                                           22             qualifications and/or disclaimers on the Products’ front label concerning

                                                                           23             the Products’ true nature. An injunction requiring affirmative

                                                                           24             disclosures to dispel the public’s misperception and prevent the ongoing

                                                                           25             deception and repeat purchases based thereon, is also not available

                                                                           26             through a legal remedy (such as monetary damages). In addition,

                                                                           27             Plaintiff is currently unable to accurately quantify the damages caused

                                                                           28             by Defendant’s future harm, because discovery and Plaintiff’s
                                                                                                                          21
                                                                                                           CLASS ACTION COMPLAINT
                                                                                Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 22 of 41




                                                                           1              investigation have not yet completed, rendering injunctive relief all the

                                                                           2              more necessary. For example, because the court has not yet certified any

                                                                           3              class, the following remains unknown: the scope of the class, the

                                                                           4              identities of its members, their respective purchasing practices, prices

                                                                           5              of past/future Product sales, and quantities of past/future Product sales.

                                                                           6           d. Public Injunction. Further, because a “public injunction” is available

                                                                           7              under the UCL, damages will not adequately “benefit the general

                                                                           8              public” in a manner equivalent to an injunction.
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                                                                           9           e. California vs. Nationwide Class Claims. Violations of the UCL, FAL,

                                                                           10             and CLRA are claims asserted on behalf of Plaintiff and the California

                                                                           11             Subclass against Defendant, while breach of warranty, unjust

                                                                           12             enrichment/restitution, and negligent failure to warn are asserted on

                                                                           13             behalf of Plaintiff and the Nationwide Class. Dismissal of farther-

                                                                           14             reaching claims, such as restitution, would bar recovery for non-

                                                                           15             California members of the Class. In other words, legal remedies

                                                                           16             available or adequate under the California-specific causes of action

                                                                           17             (such as the UCL, FAL, and CLRA) have no impact on this Court’s

                                                                           18             jurisdiction to award equitable relief under the remaining causes of

                                                                           19             action asserted on behalf of non-California putative class members.

                                                                           20          f. Procedural Posture—Incomplete Discovery & Pre-Certification.

                                                                           21             Lastly, this is an initial pleading in this action, and discovery has not yet

                                                                           22             commenced and/or is at its initial stages. No class has been certified yet.

                                                                           23             No expert discovery has commenced and/or completed. The completion

                                                                           24             of fact/non-expert and expert discovery, as well as the certification of

                                                                           25             this case as a class action, are necessary to finalize and determine the

                                                                           26             adequacy and availability of all remedies, including legal and equitable,

                                                                           27             for Plaintiff’s individual claims and any certified class or subclass.

                                                                           28             Plaintiff therefore reserves his right to amend this complaint and/or
                                                                                                                           22
                                                                                                           CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 23 of 41




                                                                           1                      assert additional facts that demonstrate this Court’s jurisdiction to order

                                                                           2                      equitable remedies where no adequate legal remedies are available for

                                                                           3                      either Plaintiff and/or any certified class or subclass. Such proof, to the

                                                                           4                      extent necessary, will be presented prior to the trial of any equitable

                                                                           5                      claims for relief and/or the entry of an order granting equitable relief.

                                                                           6                                   CLASS ACTION ALLEGATIONS

                                                                           7           39.    Class Definition. Plaintiff brings this class action pursuant to Federal Rules of Civil

                                                                           8    Procedure 23(b)(2) and 23(b)(3) on behalf of himself and all others similarly situated, and as
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                                                                           9    members of the Classes defined as follows:

                                                                           10                 All residents of the United States who, within the applicable statute of
                                                                                              limitations, purchased the Product(s) for purposes other than resale
                                                                           11                 (“Nationwide Class”); and

                                                                           12                 All residents of California who, within four years prior to the filing of this
                                                                                              Complaint, purchased the Product(s) for purposes other than resale
                                                                           13                 (“California Subclass”).

                                                                           14                 (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                                           15          40.    Class Definition Exclusions. Excluded from the Class are: (i) Defendant, its assigns,

                                                                           16   successors, and legal representatives; (ii) any entities in which Defendant has controlling interests;

                                                                           17   (iii) federal, state, and/or local governments, including, but not limited to, their departments,

                                                                           18   agencies, divisions, bureaus, boards, sections, groups, counsels, and/or subdivisions; and (iv) any

                                                                           19   judicial officer presiding over this matter and person within the third degree of consanguinity to

                                                                           20   such judicial officer.

                                                                           21          41.    Reservation of Rights to Amend the Class Definition. Plaintiff reserves the right to

                                                                           22   amend or otherwise alter the class definition presented to the Court at the appropriate time in

                                                                           23   response to facts learned through discovery, legal arguments advanced by Defendant, or otherwise.

                                                                           24          42.    Numerosity: Members of the Class are so numerous that joinder of all members is

                                                                           25   impracticable. Upon information and belief, the Nationwide Class consists of tens of thousands of

                                                                           26   purchasers (if not more) dispersed throughout the United States, and the California Subclass

                                                                           27   likewise consists of thousands of purchasers (if not more) dispersed throughout the state of

                                                                           28   California. Accordingly, it would be impracticable to join all members of the Class before the Court.
                                                                                                                                  23
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 24 of 41




                                                                           1           43.   Common Questions Predominate: There are numerous and substantial questions of

                                                                           2    law or fact common to all members of the Class that predominate over any individual issues.

                                                                           3    Included within the common questions of law or fact are:

                                                                           4                 a. Whether Defendant engaged in unlawful, unfair or deceptive business

                                                                           5                     practices by advertising and selling the Products;

                                                                           6                 b. Whether Defendant’s conduct of advertising and selling the Products

                                                                           7                     while omitting that they contain harmful heavy metals constitutes an

                                                                           8                     unfair method of competition, or unfair or deceptive act or practice, in
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                                                                           9                     violation of Civil Code section 1750, et seq.;

                                                                           10                c. Whether Defendant used deceptive omissions in connection with the

                                                                           11                    sale of the Products in violation of Civil Code section 1750, et seq.;

                                                                           12                d. Whether Defendant represented that the Products have characteristics or

                                                                           13                    quantities that they do not have in violation of Civil Code section 1750,

                                                                           14                    et seq.;

                                                                           15                e. Whether Defendant advertised the Products with intent not to sell them

                                                                           16                    as advertised in violation of Civil Code section 1750, et seq.;

                                                                           17                f. Whether Defendant’s labeling and advertising of the Products are

                                                                           18                    misleading in violation of Business and Professions Code section

                                                                           19                    17500, et seq.;

                                                                           20                g. Whether Defendant knew or by the exercise of reasonable care should

                                                                           21                    have known its labeling and advertising was and is misleading in

                                                                           22                    violation of Business and Professions Code section 17500, et seq.;

                                                                           23                h. Whether Defendant’s conduct is an unfair business practice within the

                                                                           24                    meaning of Business and Professions Code section 17200, et seq.;

                                                                           25                i. Whether Defendant’s conduct is a fraudulent business practice within

                                                                           26                    the meaning of Business and Professions Code section 17200, et seq.;

                                                                           27                j. Whether Defendant’s conduct is an unlawful business practice within

                                                                           28                    the meaning of Business and Professions Code section 17200, et seq.;
                                                                                                                                24
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 25 of 41




                                                                           1                  k. Whether Defendant’s conduct constitutes breach of warranty;

                                                                           2                  l. Whether Defendant was negligent in its failure to warn consumers about

                                                                           3                      the heavy metals contained in the Products;

                                                                           4                  m. Whether Plaintiff and the Class are entitled to injunctive relief; and

                                                                           5                  n. Whether Defendant was unjustly enriched by its unlawful conduct.

                                                                           6           44.    Typicality: Plaintiff’s claims are typical of the claims of the Class Members he seeks

                                                                           7    to represent because Plaintiff, like the Class Members purchased Defendant’s misleading and

                                                                           8    deceptive Products. Defendant’s unlawful, unfair and/or fraudulent actions concern the same
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                                                                           9    business practices described herein irrespective of where they occurred or were experienced.

                                                                           10   Plaintiff and the Class sustained similar injuries arising out of Defendant’s conduct. Plaintiff’s and

                                                                           11   Class Members’ claims arise from the same practices and course of conduct and are based on the

                                                                           12   same legal theories.

                                                                           13          45.    Adequacy: Plaintiff is an adequate representative of the Class he seeks to represent

                                                                           14   because his interests do not conflict with the interests of the Class Members Plaintiff seeks to

                                                                           15   represent. Plaintiff will fairly and adequately protect Class Members’ interests and has retained

                                                                           16   counsel experienced and competent in the prosecution of complex class actions, including complex

                                                                           17   questions that arise in consumer protection litigation.

                                                                           18          46.    Superiority and Substantial Benefit: A class action is superior to other methods for

                                                                           19   the fair and efficient adjudication of this controversy, since individual joinder of all members of the

                                                                           20   Class is impracticable and no other group method of adjudication of all claims asserted herein is

                                                                           21   more efficient and manageable for at least the following reasons:

                                                                           22                 a. The claims presented in this case predominate over any questions of law

                                                                           23                     or fact, if any exist at all, affecting any individual member of the Class;

                                                                           24                 b. Absent a Class, the members of the Class will continue to suffer damage

                                                                           25                     and Defendant’s unlawful conduct will continue without remedy while

                                                                           26                     Defendant profits from and enjoy its ill-gotten gains;

                                                                           27                 c. Given the size of individual Class Members’ claims, few, if any, Class

                                                                           28                     Members could afford to or would seek legal redress individually for
                                                                                                                                  25
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 26 of 41




                                                                           1                         the wrongs Defendant committed against them, and absent Class

                                                                           2                         Members have no substantial interest in individually controlling the

                                                                           3                         prosecution of individual actions;

                                                                           4                  d. When the liability of Defendant has been adjudicated, claims of all

                                                                           5                         members of the Class can be administered efficiently and/or determined

                                                                           6                         uniformly by the Court; and

                                                                           7                  e. This action presents no difficulty that would impede its management by

                                                                           8                         the Court as a class action, which is the best available means by which
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                                                                           9                         Plaintiff and Class Members can seek redress for the harm caused to

                                                                           10                        them by Defendant.

                                                                           11           47.   Inconsistent Rulings. Because Plaintiff seeks relief for all members of the Class, the

                                                                           12   prosecution of separate actions by individual members would create a risk of inconsistent or varying

                                                                           13   adjudications with respect to individual members of the Class, which would establish incompatible

                                                                           14   standards of conduct for Defendant.

                                                                           15           48.   Injunctive/Equitable Relief. The prerequisites to maintaining a class action for

                                                                           16   injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as Defendant has acted or

                                                                           17   refused to act on grounds generally applicable to the Class, thereby making appropriate final

                                                                           18   injunctive or equitable relief with respect to the Class as a whole.

                                                                           19           49.   Manageability. Plaintiff and Plaintiff’s counsel are unaware of any difficulties that

                                                                           20   are likely to be encountered in the management of this action that would preclude its maintenance

                                                                           21   as a class action.

                                                                           22                                           CAUSES OF ACTION

                                                                           23                                                COUNT ONE

                                                                           24                              Violation of California Unfair Competition Law

                                                                           25                                  (Cal. Bus. & Prof. Code §§ 17200, et seq.)

                                                                           26                                   (On Behalf of the California Subclass)

                                                                           27           50.   Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           28   allegations contained in this complaint, as though fully set forth herein.
                                                                                                                                    26
                                                                                                                     CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 27 of 41




                                                                           1           51.    California Subclass. This cause of action is brought pursuant to Business and

                                                                           2    Professions Code Section 17200, et seq., on behalf of Plaintiff and a California Subclass who

                                                                           3    purchased the Products within the applicable statute of limitations.

                                                                           4           52.    The UCL. California Business & Professions Code, sections 17200, et seq. (the

                                                                           5    “UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall

                                                                           6    mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or

                                                                           7    misleading advertising.”

                                                                           8           53.    False Advertising Claims. Defendant, in its advertising, labeling, and packaging of
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                                                                           9    the Products, made fraudulent omissions regarding the quality and characteristics of the Products—

                                                                           10   specifically, Defendant failed to inform consumers that its Products contain heavy metals lead and

                                                                           11   cadmium.

                                                                           12          54.    Defendant’s Deliberately Fraudulent Marketing Scheme. Defendant does not have

                                                                           13   any reasonable basis for failing to inform consumers about the dangerous heavy metals in its

                                                                           14   Products because the consumption of the Products may result in various health issues in adults and

                                                                           15   children. Defendant knew and continues to know that the Products are not safe for consumption,

                                                                           16   though Defendant intentionally advertised and marketed the Products to deceive reasonable

                                                                           17   consumers into believing that they are safe for consumption when they are not.

                                                                           18          55.    Misleading Advertising and Omission Cause Purchase of Products. Defendant’s

                                                                           19   labeling and advertising of the Products led to, and continues to lead to, reasonable consumers,

                                                                           20   including Plaintiff, believing that the Products are truly safe for consumption as there is no

                                                                           21   disclaimer or indication that the Products contain harmful heavy metals.

                                                                           22          56.    Injury in Fact. Plaintiff and the California Subclass have suffered injury in fact and

                                                                           23   have lost money or property as a result of and in reliance upon Defendant’s false advertising and

                                                                           24   material omission—namely Plaintiff and the California Subclass lost the money they paid for the

                                                                           25   Products.

                                                                           26          57.    Conduct Violates the UCL. Defendant’s conduct, as alleged herein, constitutes

                                                                           27   unfair, unlawful, and fraudulent business practices pursuant to the UCL. The UCL prohibits unfair

                                                                           28   competition and provides, in pertinent part, that “unfair competition shall mean and include
                                                                                                                                 27
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 28 of 41




                                                                           1    unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading

                                                                           2    advertising.” Cal. Bus & Prof. Code § 17200. In addition, Defendant’s use of various forms of

                                                                           3    advertising media to advertise, call attention to, or give publicity to the sale of goods or merchandise

                                                                           4    that are not as represented in any manner constitutes unfair competition, unfair, deceptive, untrue

                                                                           5    or misleading advertising, and an unlawful business practice within the meaning of Business and

                                                                           6    Professions Code Sections 17200 and 17531, which advertisements have deceived and are likely to

                                                                           7    deceive the consuming public, in violation of Business and Professions Code Section 17200.

                                                                           8            58.   No Reasonably Available Alternatives/Legitimate Business Interests. Defendant
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                                                                           9    failed to avail itself of reasonably available, lawful alternatives to further its legitimate business

                                                                           10   interests.

                                                                           11           59.   Business Practice. All of the conduct alleged herein occurred and continues to occur

                                                                           12   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern, practice and/or

                                                                           13   generalized course of conduct, which will continue daily until Defendant voluntarily alters its

                                                                           14   conduct or Defendant is otherwise ordered to do so.

                                                                           15           60.   Injunction. Pursuant to Business and Professions Code Sections 17203 and 17535,

                                                                           16   Plaintiff and the California Subclass seek an order from this Court enjoining Defendant from

                                                                           17   continuing to engage, use, or employ its practice of omitting material information regarding the

                                                                           18   heavy metal content of its Products. Plaintiff and the members of the California Subclass also seek

                                                                           19   an order requiring Defendant to disclose such information, and/or to precluding Defendant from

                                                                           20   selling the Products.

                                                                           21           61.   Causation/Restitution. As a direct and proximate result of Defendant’s misconduct

                                                                           22   in violation of the UCL, Plaintiff and the California Subclass were harmed in the amount of the

                                                                           23   purchase price they paid for the Products. Plaintiff and the California Subclass have suffered and

                                                                           24   continue to suffer economic losses and other damages including, but not limited to, the amounts

                                                                           25   paid for the Products, and any interest that would have accrued on those monies, in an amount to be

                                                                           26   proven at trial. Accordingly, Plaintiff seeks restitution, and/or disgorgement of ill-gotten gains to

                                                                           27   compensate Plaintiff and the California Subclass for said monies, as well as injunctive relief to

                                                                           28   enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                                                                                  28
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 29 of 41




                                                                           1                                              “Unfair” Prong

                                                                           2           62.    Unfair Standard. Under the UCL, a challenged activity is “unfair” when “any injury

                                                                           3    it causes outweighs any benefits provided to consumers and the injury is one that the consumers

                                                                           4    themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California, 142 Cal.

                                                                           5    App. 4th 1394, 1403 (2006).

                                                                           6           63.    Injury. Defendant’s action of omitting material information does not confer any

                                                                           7    benefit to consumers; rather, doing so causes injuries to consumers, who do not receive Products

                                                                           8    commensurate with their reasonable expectations, receive Products of lesser standards than what
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                                                                           9    they reasonably expected to receive, and are exposed to increased health risks. Consumers cannot

                                                                           10   avoid any of the injuries caused by Defendant’s deceptive labeling and omissions of the Products.

                                                                           11   The injuries caused by Defendant’s deceptive labeling and advertising outweigh any benefits.

                                                                           12          64.    Balancing Test. Some courts conduct a balancing test to decide if a challenged

                                                                           13   activity amounts to unfair conduct under California Business and Professions Code Section 17200.

                                                                           14   They “weigh the utility of the defendant’s conduct against the gravity of the harm to the alleged

                                                                           15   victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

                                                                           16          65.    No Utility. Defendant’s conduct of omitting material information has no utility and

                                                                           17   rather harms purchasers. Thus, the utility of Defendant’s conduct is vastly outweighed by the gravity

                                                                           18   of harm.

                                                                           19          66.    Legislative Declared Policy. Some courts require that “unfairness must be tethered

                                                                           20   to some legislative declared policy or proof of some actual or threatened impact on competition.”

                                                                           21   Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

                                                                           22          67.    Unfair Conduct. Defendant’s labeling and advertising of the Products, as alleged

                                                                           23   herein, is deceptive, misleading, and unreasonable, and constitutes unfair conduct. Defendant knew

                                                                           24   or should have known of its unfair conduct. Defendant’s omissions constitute an unfair business

                                                                           25   practice within the meaning of California Business and Professions Code Section 17200.

                                                                           26          68.    Reasonably Available Alternatives. There existed reasonably available alternatives

                                                                           27   to further Defendant’s legitimate business interests, other than the conduct described herein.

                                                                           28   Defendant could have disclosed that its Products contain heavy metals or it could have removed the
                                                                                                                                 29
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 30 of 41




                                                                           1    heavy metals from the Products.

                                                                           2           69.     Defendant’s Wrongful Conduct. All the conduct alleged herein occurs and

                                                                           3    continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or

                                                                           4    generalized course of conduct repeated on thousands of occasions daily.

                                                                           5           70.     Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff and

                                                                           6    the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           7    use, or employ its practice of omitting material information regarding the heavy metal content of its

                                                                           8    Products.
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                                                                           9           71.     Causation/Restitution. Plaintiff and the California Subclass have suffered injury in

                                                                           10   fact, have lost money, and were exposed to increased health risks as a result of Defendant’s unfair

                                                                           11   conduct. Plaintiff and the California Subclass paid for Products that were supposedly safe for

                                                                           12   consumption when they were not. Plaintiff and the California Subclass would not have purchased

                                                                           13   the Products if they had known that the Products’ advertising and labeling were deceptive.

                                                                           14   Accordingly, Plaintiff seeks restitution and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           15                                           “Fraudulent” Prong

                                                                           16          72.     Fraud Standard. The UCL considers conduct fraudulent (and prohibits said conduct)
                                                                           17   if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254,

                                                                           18   1267 (1992).

                                                                           19          73.     Fraudulent & Material Omission. Defendant sold the Products by omitting material

                                                                           20   information relating to the heavy metals contained in them. These omissions were deceptive, and

                                                                           21   Defendant knew or should have known of its deception. The omissions are likely to mislead

                                                                           22   consumers into purchasing the Products because they are material to the average, ordinary, and

                                                                           23   reasonable consumer.

                                                                           24          74.     Fraudulent Business Practice. As alleged herein, the omissions by Defendant

                                                                           25   constitute a fraudulent business practice in violation of California Business & Professions Code

                                                                           26   Section 17200.

                                                                           27          75.     Reasonable and Detrimental Reliance. Plaintiff and the California Subclass

                                                                           28   reasonably and detrimentally relied on the labeling on the Products to their detriment in that they
                                                                                                                                 30
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 31 of 41




                                                                           1    purchased the Products without knowing the dangers of consuming the Products.

                                                                           2           76.    Reasonably Available Alternatives. Defendant had reasonably available alternatives

                                                                           3    to further its legitimate business interests, other than the conduct described herein. Defendant could

                                                                           4    have refrained from selling the Products, or it could have disclosed the heavy metal content in the

                                                                           5    Products, or implemented measures to prevent harmful heavy metals in its Products.

                                                                           6           77.    Business Practice. All of the conduct alleged herein occurs and continues to occur in

                                                                           7    Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                           8    conduct.
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                                                                           9           78.    Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff and

                                                                           10   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           11   use, or employ its practice of omitting material information regarding the heavy metal content of its

                                                                           12   Products.

                                                                           13          79.    Causation/Restitution. Plaintiff and the California Subclass have suffered injury in

                                                                           14   fact and have lost money as a result of Defendant’s fraudulent conduct. Plaintiff and the California

                                                                           15   Subclass paid for products that they believed would be safe for consumption, when, in fact, the

                                                                           16   Products contain harmful heavy metals. Plaintiff and the California Subclass would not have

                                                                           17   purchased the Products if they had known the truth. Accordingly, Plaintiff seeks restitution and/or

                                                                           18   disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           19                                            “Unlawful” Prong

                                                                           20          80.    Unlawful Standard. The UCL identifies violations of other laws as “unlawful

                                                                           21   practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC

                                                                           22   Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).

                                                                           23          81.    Violations of CLRA and FAL. Defendant’s labeling of the Products, as alleged

                                                                           24   herein, violates California Civil Code sections 1750, et seq. and California Business and Professions

                                                                           25   Code sections 17500, et seq. as set forth below in the sections regarding those causes of action.

                                                                           26          82.    Additional Violations. Defendant’s conduct in making the deceptive omissions

                                                                           27   described herein constitutes a knowing failure to adopt policies in accordance with and/or adherence

                                                                           28   to applicable laws, as set forth herein, all of which are binding upon and burdensome to their
                                                                                                                                 31
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                      Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 32 of 41




                                                                           1    competitors. This conduct engenders an unfair competitive advantage for Defendant, thereby

                                                                           2    constituting an unfair, fraudulent and/or unlawful business practice under California Business &

                                                                           3    Professions Code sections 17200-17208. Additionally, Defendant’s omission of material facts, as

                                                                           4    set forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, and 1711 , as well

                                                                           5    as the common law.

                                                                           6            83.   Unlawful Conduct. Defendant’s packaging, labeling, and advertising of the Products,

                                                                           7    as alleged herein, are deceptive, misleading, and unreasonable, and constitute unlawful conduct.

                                                                           8    Defendant knew or should have known of its unlawful conduct.
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                                                                           9            84.   Reasonably Available Alternatives. Defendant had reasonably available alternatives

                                                                           10   to further its legitimate business interests, other than the conduct described herein. Defendant could

                                                                           11   have refrained from selling the Products, or it could have disclosed the heavy metal content in the

                                                                           12   Products, or implemented measures to prevent harmful heavy metals in its Products.

                                                                           13           85.   Business Practice. All the conduct alleged herein occurs and continues to occur in

                                                                           14   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                           15   conduct.

                                                                           16           86.   Injunction. Pursuant to Business and Professions Code Section 17203, Plaintiff and

                                                                           17   the California Subclass seek an order from this Court enjoining Defendant from continuing to

                                                                           18   engage, use, or employ its practice of omitting material information regarding the heavy metal

                                                                           19   content of its Products.

                                                                           20           87.   Causation/Restitution. Plaintiff and the California Subclass have suffered injury in

                                                                           21   fact and have lost money as a result of Defendant’s unlawful conduct. Plaintiff and the California

                                                                           22   Subclass paid an unwarranted premium for the Products. Plaintiff and the California Subclass would

                                                                           23   not have purchased the Products if they had known that Defendant purposely deceived consumers

                                                                           24   into believing that the Products are safe for consumption. Accordingly, Plaintiff seeks restitution

                                                                           25   and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           26   ///

                                                                           27   ///

                                                                           28   ///
                                                                                                                                 32
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 33 of 41




                                                                           1                                               COUNT TWO

                                                                           2                             Violation of California False Advertising Law

                                                                           3                                (Cal. Bus. & Prof. Code §§ 17500, et seq.)

                                                                           4                                  (On Behalf of the California Subclass)

                                                                           5           88.    Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           6    allegations contained in this complaint, as though fully set forth herein.

                                                                           7           89.    California Subclass. Plaintiff brings this claim individually and on behalf of the

                                                                           8    California Subclass who purchased the Products within the applicable statute of limitations.
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                                                                           9           90.    FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof. Code

                                                                           10   section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”

                                                                           11          91.    Material Omission Disseminated to Public. Defendant violated section 17500 when

                                                                           12   it sold the Products to the public without disclosing the heavy metals contained in them. This

                                                                           13   conduct was deceptive because the Products’ labeling omits material information regarding the

                                                                           14   heavy metal content of its Product. The omissions were material because they are likely to mislead

                                                                           15   a reasonable consumer into purchasing the Products.

                                                                           16          92.    Knowledge. Defendant knew or should have known that its failure to disclose

                                                                           17   information relating to the heavy metals contained in its Products was misleading and in violation

                                                                           18   of § 17500.

                                                                           19          93.    Intent to sell. Defendant’s conduct was specifically designed to induce reasonable

                                                                           20   consumers, like Plaintiff and the California Subclass, to purchase the Products.

                                                                           21          94.    Causation/Damages. As a direct and proximate result of Defendant’s misconduct in

                                                                           22   violation of the FAL, Plaintiff and members of the California Subclass were harmed in the amount

                                                                           23   of the purchase price they paid for the Products and increased health risks from consuming the heavy

                                                                           24   metals in the Products. Further, Plaintiff and members of the Class have suffered and continue to

                                                                           25   suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           26   Products, and any interest that would have accrued on those monies, in an amount to be proven at

                                                                           27   trial. Accordingly, Plaintiff seeks a monetary award for violation of the FAL in damages, restitution,

                                                                           28   and/or disgorgement of ill-gotten gains to compensate Plaintiff and the California Subclass for said
                                                                                                                                  33
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 34 of 41




                                                                           1    monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future

                                                                           2    harm that will result.

                                                                           3                                             COUNT THREE

                                                                           4                         Violation of California Consumers Legal Remedies Act

                                                                           5                                      (Cal. Civ. Code §§ 1750, et seq.)

                                                                           6                                   (On Behalf of the California Subclass)

                                                                           7           95.     Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           8    allegations contained in this complaint, as though fully set forth herein.
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                                                                           9           96.     California Subclass. Plaintiff brings this claim individually and on behalf of the

                                                                           10   California Subclass who purchased the Products within the applicable statute of limitations.

                                                                           11          97.     CLRA Standard. The CLRA provides that “unfair methods of competition and unfair

                                                                           12   or deceptive acts or practices undertaken by any person in a transaction intended to result or which

                                                                           13   results in the sale or lease of goods or services to any consumer are unlawful.”

                                                                           14          98.     Goods/Services. The Products are “goods,” as defined by the CLRA in California

                                                                           15   Civil Code §1761(a).

                                                                           16          99.     Defendant. Defendant is a “person,” as defined by the CLRA in California Civil Code

                                                                           17   §1761(c).

                                                                           18          100. Consumers. Plaintiff and members of the California Subclass are “consumers,” as

                                                                           19   defined by the CLRA in California Civil Code §1761(d).

                                                                           20          101. Transactions. The purchase of the Products by Plaintiff and members of the

                                                                           21   California Subclass are “transactions” as defined by the CLRA under California Civil Code section

                                                                           22   1761(e).

                                                                           23          102. Violations of the CLRA. Defendant violated the following sections of the CLRA by

                                                                           24   selling the Products to Plaintiff and the California Subclass without disclosing that the Products

                                                                           25   contain lead and cadmium:

                                                                           26               a. Section 1770(a)(5) by representing that the Products have “characteristics,
                                                                                               . . . uses [or] benefits . . . which [they] do not have.”
                                                                           27
                                                                                            b. Section 1770(a)(7) by representing that the Products “are of a particular
                                                                           28                  standard, quality, or grade . . . [when] they are of another.”
                                                                                                                                  34
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 35 of 41




                                                                           1              c. Section 1770(a)(9) by advertising the Products “with [the] intent not to sell
                                                                                             them as advertised.”
                                                                           2

                                                                           3            103. Knowledge. Defendant’s uniform and material omissions regarding the Products

                                                                           4    were likely to deceive, and Defendant knew or should have known that its omissions were

                                                                           5    misleading.

                                                                           6            104. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in that

                                                                           7    Defendant intentionally misled and withheld material information from consumers, including

                                                                           8    Plaintiff, to increase the sales of the Products.
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                                                                           9            105. Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the California

                                                                           10   Subclass could not have reasonably avoided such injury. Plaintiff and members of the California

                                                                           11   Subclass were unaware of the existence of the facts that Defendant suppressed and failed to disclose,

                                                                           12   and Plaintiff and members of the California Subclass would not have purchased the Products and/or

                                                                           13   would have purchased them on different terms had they known the truth.

                                                                           14           106. Causation/Reliance/Materiality. Plaintiff and the California Subclass suffered harm

                                                                           15   as a result of Defendant’s violations of the CLRA because they purchased the Products without

                                                                           16   knowing they contained heavy metals. Defendant’s omission of this information was material

                                                                           17   because a reasonable consumer would consider the information important in deciding whether to

                                                                           18   purchase the Products.

                                                                           19           107. Section 1782(d) Notice Requirement. Pursuant to California Civil Code, section

                                                                           20   1782, on January 13, 2023, Plaintiff, on Plaintiff’s behalf and on behalf of members of the Class,

                                                                           21   notified Defendant of its alleged violations of the CLRA via U.S. Certified Mail.

                                                                           22           108. Causation/Damages (Section 1782(d)).           As a direct and proximate result of

                                                                           23   Defendant’s misconduct in violation of the CLRA, Plaintiff and members of the California Subclass

                                                                           24   were harmed in the amount of the purchase price they paid for the Products. Further, Plaintiff and

                                                                           25   members of the Class have suffered and continue to suffer economic losses and other damages

                                                                           26   including, but not limited to, the amounts paid for the Products, and any interest that would have

                                                                           27   accrued on those monies, in an amount to be proven at trial.

                                                                           28           109. Injunction. Given that Defendant’s conduct violated California Civil Code section
                                                                                                                                    35
                                                                                                                    CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 36 of 41




                                                                           1    1780, Plaintiff and members of the California Subclass are entitled to seek, and do hereby seek,

                                                                           2    injunctive relief to put an end to Defendant’s violations of the CLRA. Plaintiff has no adequate

                                                                           3    remedy at law. Without equitable relief, Defendant’s unfair and deceptive practices will continue to

                                                                           4    harm Plaintiff and the California Subclass.

                                                                           5                                              COUNT FOUR

                                                                           6                                         Breach of Implied Warranty

                                                                           7                       (On Behalf of the Nationwide Class and California Subclass)

                                                                           8            110. Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all
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                                                                           9    allegations contained in this complaint, as though fully set forth herein.

                                                                           10           111. Nationwide Class & California Subclass. Plaintiff brings this claim individually and

                                                                           11   on behalf of the Nationwide Class and California Subclass who purchased the Products within the

                                                                           12   applicable statute of limitations.

                                                                           13           112. Implied Warranty of Merchantability. By advertising and selling the Products at

                                                                           14   issue, Defendant, a merchant of goods, made promises and affirmations of fact that the Products are

                                                                           15   merchantable and conform to the promises or affirmations of fact made on the Products’ packaging

                                                                           16   and labeling, and through its marketing and advertising, as described herein. This labeling and

                                                                           17   advertising, combined with the implied warranty of merchantability, constitute warranties that

                                                                           18   became part of the basis of the bargain between Plaintiff and members of the Class and Defendant-

                                                                           19   --to wit, that the Products, among other things, are safe for consumption.

                                                                           20           113. Breach of Warranty. Contrary to Defendant’s warranties, the Products do not

                                                                           21   conform to the Products’ representation of being safe for human consumption due to the inclusion

                                                                           22   of harmful heavy metals and, therefore, Defendant breached its warranties about the Products and

                                                                           23   their qualities.

                                                                           24           114. Causation/Remedies. As a direct and proximate result of Defendant’s breach of

                                                                           25   warranty, Plaintiff and members of the Class were harmed in the amount of the purchase price they

                                                                           26   paid for the Products. Further, Plaintiff and members of the Class have suffered and continue to

                                                                           27   suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           28   Products, and any interest that would have accrued on those monies, in an amount to be proven at
                                                                                                                                  36
                                                                                                                     CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 37 of 41




                                                                           1    trial. Accordingly, Plaintiff seeks a monetary award for breach of warranty in the form of damages,

                                                                           2    restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said

                                                                           3    monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future

                                                                           4    harm that will result.

                                                                           5           115. Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action

                                                                           6    for breach of warranty on behalf of Plaintiff and the Class. Defendant’s unfair, fraudulent, and

                                                                           7    unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct

                                                                           8    warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious
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                                                                           9    as Defendant acted with the intent to cause Plaintiff and consumers to pay for Products that they

                                                                           10   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff

                                                                           11   and consumers as Defendant was aware of the probable dangerous consequences of its conduct and

                                                                           12   deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is

                                                                           13   oppressive as, at all relevant times, said conduct was so base, and/or contemptible that reasonable

                                                                           14   people would look down upon it and/or otherwise would despise such misconduct. Said misconduct

                                                                           15   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their rights.

                                                                           16   Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                           17   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.

                                                                           18   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                           19   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.

                                                                           20                                              COUNT FIVE

                                                                           21                                     Unjust Enrichment/Restitution

                                                                           22                     (On Behalf of the Nationwide Class and California Subclass)

                                                                           23          116. Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           24   allegations contained in this complaint, as though fully set forth herein.

                                                                           25          117. Nationwide Class & California Subclass. Plaintiff brings this claim individually and

                                                                           26   on behalf of the Nationwide Class and California Subclass (together, the Class) who purchased the

                                                                           27   Products within the applicable statute of limitations.

                                                                           28          118. Plaintiff/Class Conferred a Benefit. By purchasing the Products, Plaintiff and
                                                                                                                                  37
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 38 of 41




                                                                           1    members of the Class conferred a benefit on Defendant in the form of the purchase price of the

                                                                           2    Products.

                                                                           3            119. Defendant’s Knowledge of Conferred Benefit. Defendant had knowledge of such

                                                                           4    benefit and Defendant appreciated the benefit because, were consumers not to purchase the

                                                                           5    Products, Defendant would not generate revenue from the sales of the Products.

                                                                           6            120. Defendant’s Unjust Receipt Through Deception. Defendant’s knowing acceptance

                                                                           7    and retention of the benefit is inequitable and unjust because the benefit was obtained by

                                                                           8    Defendant’s fraudulent, misleading, and deceptive omissions.
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                                                                           9            121. Causation/Restitution. As a direct and proximate result of Defendant’s unjust

                                                                           10   enrichment, Plaintiff and members of the Class were harmed in the amount of the purchase price

                                                                           11   they paid for the Products. Further, Plaintiff and members of the Class have suffered and continue

                                                                           12   to suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           13   Products, and any interest that would have accrued on those monies, in an amount to be proven at

                                                                           14   trial. Accordingly, Plaintiff seeks a monetary award for unjust enrichment in damages, restitution,

                                                                           15   and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies, as

                                                                           16   well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm that

                                                                           17   will result.

                                                                           18                                               COUNT SIX

                                                                           19                                       Negligent Failure to Warn

                                                                           20                     (On Behalf of the Nationwide Class and California Subclass)

                                                                           21           122. Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           22   allegations contained in this complaint, as though fully set forth herein.

                                                                           23           123. Nationwide Class & California Subclass. Plaintiff brings this claim individually and

                                                                           24   on behalf of the Nationwide Class and California Subclass (together, the Class) who purchased the

                                                                           25   Products within the applicable statute of limitations.

                                                                           26           124. Defendant’s Manufactured Products. At all relevant times, Defendant was

                                                                           27   responsible for designing, constructing, testing, manufacturing, inspecting, distributing, labeling,

                                                                           28   marketing, advertising, and/or selling the Products. At all relevant times, it was reasonably
                                                                                                                                  38
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 39 of 41




                                                                           1    foreseeable by Defendant that the consumption of the Products, which contained heavy metals, lead

                                                                           2    and cadmium, involved serious health risks and was unreasonably dangerous to Plaintiff and the

                                                                           3    Class as the ultimate users of the Products.

                                                                           4           125. Knowledge. Defendant knew, or through the exercise of reasonable care, should have

                                                                           5    known of the presence of heavy metals in the Products and the inherent dangers associated with

                                                                           6    consuming the Products as described herein, and knew that Plaintiff and Class Members could not

                                                                           7    reasonably be aware of those health risks. Defendant failed to exercise reasonable care in providing

                                                                           8    Plaintiff and the Class with adequate warnings.
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                                                                           9           126. Defendant Duty To Warn. Defendant, as the designer, manufacturer, tester,

                                                                           10   marketer, advertiser, and/or seller of the Products, had a duty to warn Plaintiff and the Class of

                                                                           11   heavy metals contained in the Products and health risks associated with the consumption of the

                                                                           12   Products. At minimum, the duty arose for Defendant to warn consumers that the Products contained

                                                                           13   heavy metals and consumption of the Products could result in health risks and was unreasonably

                                                                           14   dangerous to consume.

                                                                           15          127. Negligent and Breach of Duty. Defendant was negligent and breached its duty of

                                                                           16   care by negligently failing to provide warnings to consumers of the Products, including Plaintiff and

                                                                           17   the Class, about the true nature of the Products, its health risks, and potential dangers. Defendant

                                                                           18   was negligent and breached its duty of care by concealing the risks of and failing to warn consumers

                                                                           19   that the Products contain harmful heavy metals.

                                                                           20          128. Causation. Defendant’s failure to provide adequate warning about the potential risks

                                                                           21   associated with the Product was a direct cause of the Plaintiff’s injuries.

                                                                           22          129. Damages. As a direct and proximate result of Defendant’s conduct, Plaintiff and

                                                                           23   members of the Class were harmed in the amount of the purchase price they paid for the Products.

                                                                           24   Further, Plaintiff and members of the Class have suffered and continue to suffer economic losses

                                                                           25   and other damages including, but not limited to, the amounts paid for the Products, and any interest

                                                                           26   that would have accrued on those monies, in an amount to be proven at trial. Accordingly, Plaintiff

                                                                           27   seeks damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the

                                                                           28   Class for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent
                                                                                                                                  39
                                                                                                                   CLASS ACTION COMPLAINT
                                                                                    Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 40 of 41




                                                                           1    ongoing and future harm that will result.

                                                                           2                                           PRAYER FOR RELIEF

                                                                           3           130. WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

                                                                           4    prays for judgment against Defendant as follows:

                                                                           5              a. Certification: For an order certifying this action as a class action,

                                                                           6                  appointing Plaintiff as the Class Representative, and appointing Plaintiff’s

                                                                           7                  Counsel as Class Counsel;

                                                                           8              b. Declaratory Relief: For an order declaring that Defendant’s conduct
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                                                                           9                  violates the statutes and laws referenced herein;

                                                                           10             c. Injunction: For an order requiring Defendant to immediately cease and

                                                                           11                 desist from selling the unlawful Products in violation of law; enjoining

                                                                           12                 Defendant from continuing to market, advertise, distribute, and sell the

                                                                           13                 Products in the unlawful manner described herein; requiring Defendant to

                                                                           14                 engage in an affirmative advertising campaign to dispel the public

                                                                           15                 misperception of the Products resulting from Defendant’s unlawful

                                                                           16                 conduct; and requiring all further and just corrective action, consistent with

                                                                           17                 permissible law and pursuant to only those causes of action so permitted;

                                                                           18             d. Damages/Restitution/Disgorgement: For an order awarding monetary

                                                                           19                 compensation in the form of damages, restitution, and/or disgorgement to

                                                                           20                 Plaintiff and the Class, consistent with permissible law and pursuant to only

                                                                           21                 those causes of action so permitted;

                                                                           22             e. Punitive Damages/Penalties: For an order awarding punitive damages,

                                                                           23                 statutory penalties, and/or monetary fines, consistent with permissible law

                                                                           24                 and pursuant to only those causes of action so permitted;

                                                                           25             f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs,

                                                                           26                 consistent with permissible law and pursuant to only those causes of action

                                                                           27                 so permitted;

                                                                           28             g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                                                                                 40
                                                                                                                  CLASS ACTION COMPLAINT
                                                                                   Case 5:23-cv-01352-VKD Document 1 Filed 03/22/23 Page 41 of 41




                                                                           1                post-judgment interest, consistent with permissible law and pursuant to only

                                                                           2                those causes of action so permitted; and

                                                                           3             h. All Just & Proper Relief: For such other and further relief as the Court

                                                                           4                deems just and proper.

                                                                           5                                    DEMAND FOR JURY TRIAL

                                                                           6         Plaintiff hereby demands a trial by jury on all issues and causes of action so triable.

                                                                           7    Dated: March 22, 2023                                Respectfully submitted,
                                                                           8
                                                                                                                                     CLARKSON LAW FIRM, P.C.
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                                                                           9                                                         By:

                                                                           10                                                        /s/ Bahar Sodaify
                                                                                                                                     Ryan J. Clarkson, Esq.
                                                                           11
                                                                                                                                     Bahar Sodaify, Esq.
                                                                           12                                                        Alan Gudino, Esq.
                                                                                                                                     Ryan D. Ardi, Esq.
                                                                           13

                                                                           14                                                        Attorneys for Plaintiff

                                                                           15

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